                                 CASE 0:18-cr-00286-ADM-DTS Doc. 11 Filed 11/20/18 Page 1 of 1

                                       IN THE UNITED STATES DISTRICT COURT
                                                    FOR THE DISTRICT OF MINNESOTA

                                                    ARRAIGNMENT MINUTES
UNITED STATES OF AMERICA,                                                      COURT MINUTES - CRIMINAL
                 Plaintiff,                                                        BEFORE: BECKY R. THORSON
 v.                                                                                    U.S. Magistrate Judge

Sheri Marie Lemma,                                                       Case No:               18-cr-286 ADM/DTS
                                       Defendant.                        Date:                  November 20, 2018
                                                                         Courthouse:            St. Paul
                                                                         Courtroom:             6A
                                                                         Time Commenced:        11:18 a.m.
                                                                         Time Concluded:        11:21 a.m.
                                                                         Time in Court:          3 minutes


APPEARANCES:
   Plaintiff: Amber Brennan(for LeeAnn Bell), Assistant U.S. Attorney
   Defendant: Ryan Pacyga
          Retained

Indictment Dated: November 15, 2018

           Reading of Indictment Waived                  Not Guilty Plea Entered

Government Disclosures Due Date:                     November 27, 2018
Defendant’s Disclosures Due Date:                    December 4, 2018
Motion Filing Date:                                  December 11, 2018
Motion Response Date:                                December 26, 2018
Notice of Intent to call Witnesses:                  December 26, 2018
Responsive Notice Deadline:                          January 2, 2019

Motion Hearing Date:                                 January 20, 2019 at 1:30 p.m. before U.S. Magistrate Judge David T. Schultz

Voir Dire/Jury Instruction Due Date:                 January 21, 2019
Status Conference Date:                              NA
Trial Date:                                          January 28, 2019 at 9:30 a.m. before U.S. District Judge Ann D. Montgomery, CR
                                                                                      13W Mpls

Other Remarks:

    Counsel to be notified of additional dates by separate Order to be issued.

                                                                                                                   s/Janet Midtbo
                                                                                                   Signature of Courtroom Deputy



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